Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 1 of 42



                                          UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF FLORIDA

                                             CASE NO.: 16-cv-21301-GAYLES

   SECURITIES AND EXCHANGE COMMISSION,

               Plaintiff,

   v.

   ARIEL QUIROS,
   WILLIAM STENGER,
   JAY PEAK, INC.,
   Q RESORTS, INC.,
   JAY PEAK HOTEL SUITES L.P.,
   JAY PEAK HOTEL SUITES PHASE II. L.P.,
   JAY PEAK MANAGEMENT, INC.,
   JAY PEAK PENTHOUSE SUITES, L.P.,
   JAY PEAK GP SERVICES, INC.,
   JAY PEAK GOLF AND MOUNTAIN SUITES L.P.,
   JAY PEAK GP SERVICES GOLF, INC.,
   JAY PEAK LODGE AND TOWNHOUSES L.P.,
   JAY PEAK GP SERVICES LODGE, INC.,
   JAY PEAK HOTEL SUITES STATESIDE L.P.,
   JAY PEAK GP SERVICES STATESIDE, INC.,
   JAY PEAK BIOMEDICAL RESEARCH PARK L.P.,
   AnC BIO VERMONT GP SERVICES, LLC,

               Defendants, and

   JAY CONSTRUCTION MANAGEMENT, INC.,
   GSI OF DADE COUNTY, INC.,
   NORTH EAST CONTRACT SERVICES, INC.,
   Q BURKE MOUNTAIN RESORT, LLC,

               Relief Defendants.

   Q BURKE MOUNTAIN RESORT, HOTEL
   AND CONFERENCE CENTER, L.P.
   Q BURKE MOUNTAIN RESORT GP SERVICES, LLC,

          Additional Receivership Defendants1
   _____________________________________________/

                     NOTICE OF FILING RECEIVER'S SECOND INTERIM REPORT



   1
       See Order Granting Receiver's Motion to Expand Receivership dated April 22, 2016 [ECF No.: 60].



   {38950350;1}
Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 2 of 42




            Michael I. Goldberg (“Receiver”), through undersigned counsel, hereby gives notice of

   the filing of Receiver's Second Interim Report dated November 22, 2016.


                                                  Respectfully submitted,

                                                    /s/ Michael I. Goldberg
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                                                  Florida Bar Number: 886602
                                                  Email: michael.goldberg@akerman.com
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                                                  350 East Las Olas Boulevard
                                                  Fort Lauderdale, FL 33301-2999
                                                  Telephone (954) 463-2700
                                                  Facsimile: (954) 463-2224
                                                  Court Appointed Receiver


                                    CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a true and correct copy of the foregoing was served on this

   November 22, 2016 via the Court's notice of electronic filing on all CM/ECF registered users

   entitled to notice in this case as indicated on the attached Service List.



                                                  By: /s/ Michael I. Goldberg
                                                     Michael I. Goldberg, Esq.




   {38950350;1}
Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 3 of 42




                                       SERVICE LIST

   1:16-cv-21301-DPG Notice will be electronically mailed via CM/ECF to the following:

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   Co-Counsel for Receiver


   {38950350;1}
Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 4 of 42


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   {38950350;1}
Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 5 of 42



                                            UNITED STATES DISTRICT COURT
                                            SOUTHERN DISTRICT OF FLORIDA

                                              CASE NO.: 16-cv-21301-GAYLES


   SECURITIES AND EXCHANGE COMMISSION,

               Plaintiff,

   v.

   ARIEL QUIROS,
   WILLIAM STENGER,
   JAY PEAK, INC.,
   Q RESORTS, INC.,
   JAY PEAK HOTEL SUITES L.P.,
   JAY PEAK HOTEL SUITES PHASE II. L.P.,
   JAY PEAK MANAGEMENT, INC.,
   JAY PEAK PENTHOUSE SUITES, L.P.,
   JAY PEAK GP SERVICES, INC.,
   JAY PEAK GOLF AND MOUNTAIN SUITES L.P.,
   JAY PEAK GP SERVICES GOLF, INC.,
   JAY PEAK LODGE AND TOWNHOUSES L.P.,
   JAY PEAK GP SERVICES LODGE, INC.,
   JAY PEAK HOTEL SUITES STATESIDE L.P.,
   JAY PEAK GP SERVICES STATESIDE, INC.,
   JAY PEAK BIOMEDICAL RESEARCH PARK L.P.,
   AnC BIO VERMONT GP SERVICES, LLC,

               Defendants, and

   JAY CONSTRUCTION MANAGEMENT, INC.,
   GSI OF DADE COUNTY, INC.,
   NORTH EAST CONTRACT SERVICES, INC.,
   Q BURKE MOUNTAIN RESORT, LLC,

               Relief Defendants.

   Q BURKE MOUNTAIN RESORT, HOTEL
   AND CONFERENCE CENTER, L.P.
   Q BURKE MOUNTAIN RESORT GP SERVICES, LLC,

          Additional Receivership Defendants1
   _____________________________________________/

                                    RECEIVER’S SECOND INTERIM REPORT


   1
       See Order Granting Receiver's Motion to Expand Receivership dated April 22, 2016 [ECF No.: 60].



   {39955545;1}
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Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 6 of 42




                                IMPORTANT—PLEASE READ CAREFULLY

   THE STATEMENTS CONTAINED IN THIS REPORT ARE BASED ON THE RECEIVER'S PRELIMINARY
   INVESTIGATION CONDUCTED IN THE SHORT TIME ELAPSING FROM THE ESTABLISHMENT OF
   THIS RECEIVERSHIP. THE RECEIVER COMPILED THIS REPORT BASED ON BOTH THE RECEIVER
   AND HIS PROFESSIONALS': I) REVIEW OF THOUSANDS OF PAGES OF DOCUMENTS; AND
   II) INTERVIEWS OF THE DEFENDANTS’ EMPLOYEES, AFFILIATES, INVESTORS AND OTHER
   RELATED PERSONS. THE FACTS AND CONCLUSIONS STATED HEREIN MAY BE SUBJECT TO
   CHANGE AS THE RECEIVER'S INVESTIGATION PROGRESSES. OTHER THAN AMOUNTS
   CONTAINED IN BANK AND/OR BROKERAGE ACCOUNTS, THE VALUE OF ANY OTHER ASSET HAS
   NOT YET BEEN DETERMINED. THE RECEIVER INTENDS TO FILE ADDITIONAL REPORTS, FROM
   TIME TO TIME, AS ADDITIONAL INFORMATION IS OBTAINED.



            Michael I. Goldberg, in his capacity as receiver (the “Receiver”) of Jay Peak, Inc., Q

   Resorts, Inc., Jay Peak Hotel Suites L.P., Jay Peak Hotel Suites Phase II L.P., Jay Peak

   Management, Inc., Jay Peak Penthouse Suites L.P., Jay Peak GP Services, Inc., Jay Peak Golf

   and Mountain Suites L.P., Jay Peak GP Services Golf, Inc., Jay Peak Lodge and Townhouse

   L.P., Jay Peak GP Services Lodge, Inc., Jay Peak Hotel Suites Stateside L.P., Jay Peak Services

   Stateside, Inc., Jay Peak Biomedical Research Park L.P., AnC Bio Vermont GP Services, LLC

   (collectively, the “Receivership Defendants”) and Jay Construction Management, Inc., GSI of

   Dade County, Inc., North East Contract Services, Inc., and Q Burke Mountain Resort, LLC

   (collectively, the “Relief Defendants”) and Q Burke Mountain Resort, Hotel and Conference

   Center, L.P. and Q Burke Mountain Resort GP Services, LLC (together, “Additional

   Receivership Defendants”) (the Receivership Defendants, Relief Defendants, and Additional

   Receivership Defendants shall collectively be referred to as the “Receivership Entities”), by and

   through undersigned counsel, and pursuant to the Order Granting Plaintiff Securities and

   Exchange Commission’s Motion for Appointing Receiver, dated April 13, 2016 (the “Order”)

   [ECF No. 13], respectfully files his Second Interim Report.




   {39955545;1}                                     -2-
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Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 7 of 42




   I.         BACKGROUND

              The Receiver filed his First Interim Report [DE No. 201] on August 12, 2016. The First

   Interim Report provides background information on the events that led up to the appointment of

   the Receiver and a detailed explanation of the Receivership Defendants.2 For the purpose of

   brevity, the Receiver will not repeat all of this information contained in the First Interim Report,

   but refers all interested parties to the First Interim Report for additional background information.

              On April 12, 2016, the Securities and Exchange Commission (“SEC”) filed a complaint

   [ECF No. 1] (“Complaint”) in the United States District Court for the Southern District of

   Florida (the “Court”) against the Receivership Defendants, the Relief Defendants, William

   Stenger (“Stenger”) and Ariel Quiros (“Quiros” and with the Receivership Defendants, Relief

   Defendants and Stenger, the “Defendants”), the principal of the Receivership Defendants,

   alleging that the Defendants violated the Securities Act of 1933 and the Securities Exchange Act

   of 1934 by making false or materially misleading representations to investors. Along with the

   Complaint, the SEC requested the Court to enter a temporary restraining order and a preliminary

   injunction preventing the Receivership Defendants from, among other things, transferring or

   otherwise utilizing their assets.

              On April 13, 2016, the Court entered an Order [ECF No. 11] granting the SEC’s

   Emergency Ex Parte Motion for Temporary Restraining Order, Asset Freeze and Other Relief

   [ECF No. 4] and an Order granting the SEC’s Motion for Appointment of Receiver [ECF No.

   13] (the “Receivership Order”). Among other things, the Receivership Order appointed Michael

   Goldberg as the receiver over the Receivership Defendants and the Relief Defendants. Quiros

   opposed the SEC's request for a preliminary injunction and the Court held multiple hearings on

   the SEC's motion in April and May.

   2
       All capitalized terms will have the same meaning as defined in the First Interim Report.



   {39955545;1}                                              -3-
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Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 8 of 42




             On September 21, 2016, upon motion [ECF No. 206] of the SEC and consent by

   Stenger, the Court entered an Order granting a Judgment of Permanent Injunction and Other

   Relief against Stenger [ECF No. 215].3 Quiros opposes the entry of an injunction and has filed a

   Motion to Dismiss the Complaint [ECF No. 171]. On November 21, 2016, the Court entered a

   Preliminary Injunction [ECF No. 238] preliminarily enjoining Quiros from continuing to violate

   the Federal Securities laws, maintaining the asset freeze set forth in the TRO, and continuing the

   receivership, among other relief. Moreover, the Court denied Quiros' Motion to Dismiss [ECF

   No. 239].

   II.      ACTIONS TAKEN BY THE RECEIVER DURING THE REPORTING PERIOD

            A.     Preserving the Assets

            The Receiver, with the assistance of the court-approved management company, Leisure

   Hotels, LLC (“Leisure”), and his attorneys and accountants continue to operate the assets of the

   Receivership Entities.

                   1.       Management of Vermont Properties

            The Receiver confers with the Leisure management team on a daily basis and reviews

   weekly and monthly reports prepared by the management team. Please see the Financial Affairs

   section of this report below for more detailed information on the financial condition of the Jay

   Peak Resort and the Burke Hotel.

                   2.       GSI’s Miami Office

            On the day of his appointment, the Receiver, with the help of his professionals and staff,

   took control of GSI’s office located in downtown Miami, Florida, where a number of the

   Receivership Entities also do business and/or receive mail, such as JCM, Q Burke, and AnC Bio.

   3
      Stenger was employed by the Receiver from April through September. In September, the Receiver terminated
   Stenger as an employee, however, he continues to assist the Receiver and Leisure Resorts on an independent
   contractor basis, as needed.



   {39955545;1}                                      -4-
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Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 9 of 42




   That office occupies the entire fourth floor of the building located at 111 NE 1st Street. The

   Receiver seized all computers located on the premises and took images of each of them. The

   Receiver’s professionals are reviewing and cataloging that information. The GSI office is where

   Quiros maintained most, if not all, of his documentation for the Jay Peak project and his banking

   records. The Receiver’s professionals have been reviewing and cataloging these records.

            While at GSI’s offices, the Receiver’s representatives also took possession of a laptop

   found in Quiros’ office. The Receiver imaged all the information stored on the laptop. Shortly

   after the imaging process was completed, Quiros requested that the laptop be returned to him,

   claiming that it was his personal laptop. Based on that representation, and after confirming that

   an image had been taken of the laptop, the Receiver authorized the return of the laptop to Quiros.

            Counsel for Quiros later represented to the Receiver that the laptop was Quiros’ personal

   property, purchased with Quiros’ personal funds, and used to communicate with his personal

   attorneys from personal email addresses. In other words, the representation was that Quiros did

   not use a “Jay Peak” email address from the laptop or any other email address associated with

   the Receivership Entities.

            By virtue of his review of documentation produced by other parties, the Receiver has

   determined that Quiros sent many emails regarding Jay Peak matters, particularly as they relate

   to transfers between and among bank accounts, from his personal “a.quiros@att.net” email

   account, and other than his laptop that was found in his office, there were no other laptops,

   desktops or computers in that office. As a result, the Receiver sought authority to retain a third-

   party vendor to conduct a review of the imaged materials from the laptop and to divide the

   images into two categories: privileged emails and/or documents and all other emails and/or

   documents. [ECF No. 230]. On October 20, 2016, this Court granted that motion. [ECF No.




   {39955545;1}                                     -5-
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Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 10 of 42




   233]. The Receiver is working with a third party vender to isolate any potentially privileged

   information.

                      3.      Opa-Locka Warehouse

            The Receiver assumed control of the Opa-Locka warehouse leased by GSI. The

   warehouse serves as storage for furniture and automotive parts, one dirt bike, a small boat, an

   off-road vehicle, and two vintage United States Army Jeeps from World War II. The landlord

   for the warehouse has contacted the Receiver in an attempt to collect the amounts owed by GSI

   for monthly rent. The Receiver’s representatives were also contacted by the owner of the trailer

   upon which the small boat was kept. Documentation demonstrating that the trailer is not owned

   by Quiros or any Receivership Entity has been provided and reviewed by the Receiver’s

   professionals, so that trailer will soon be returned to its owner.

            B.        Website/Ongoing Communications

            The Receiver returned to Vermont on multiple occasions for meetings with Vermont

   government officials, creditors of the Receivership Entities and employees of the Receivership

   Entities. The Receiver continues to respond to inquiries, usually through e-mail and telephone

   calls. Since the Receiver cannot respond to every inquiry, the Receiver maintains a toll-free

   investor       “Hotline”   at (800)   223-2234   and    an   email   address for     general inquiries:

   jaypeak@akerman.com. The Receiver also updates the website www.JayPeakReceivership.com

   to provide up to date information for investors and interested parties. Because the investors

   come from foreign countries, the website is available in seven languages. The Receiver has

   posted copies of court filings, correspondence with investors and other pertinent information on

   the website. To provide public access to court documents, the Receiver posts copies of key

   filings in this case on the website. The Receiver has posted numerous updates on his website.




   {39955545;1}                                      -6-
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Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 11 of 42




   The website also includes a Registration Form for investors and creditors to provide the Receiver

   with their contact information. The Receiver will continue to utilize the website as the primary

   method of communicating with investors, creditors and other interested parties throughout the

   receivership.

            C.     Immigration Issues

                   1.      USCIS and EB-5 Legislation

            The Receiver is fully aware that most investors are concerned about their immigration

   status as well as their investment. Although some earlier investors who have been lucky enough

   to have their I-829 petitions approved have expressed their sole concern is the return of their

   investment, the Receiver notes that these investors may not be aware of the fact that USCIS may

   have the ability to revoke I-829 approval for up to five years from the date it was originally

   approved in the event it is determined that the original approval was based upon inaccurate

   information or in the event USCIS determines that an investor's money was not actually invested

   as stated. Some correspondence from USCIS indicates that they are focusing on whether or not

   the requisite “link” exists between investors' investments and job creation and are questioning

   the existence based upon the improper transfer of money among the various partnerships as

   alleged in the SEC's complaint. Thus, all investors need to be aware of this issue whether or not

   they have already received approval of their I-829 petitions and be careful of the positions they

   take in legal proceedings which could directly affect their immigration status.

            As set forth in the Receiver's first report, the Receiver, along with the Vermont Regional

   Center, has attempted to communicate directly with USCIS in an effort to start a dialogue

   concerning the immigration issues investors may face as a result of this receivership. The

   Receiver and the Vermont Regional Center sent a letter in May, 2016 to USCIS requesting a




   {39955545;1}                                      -7-
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Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 12 of 42




   meeting, however, USCIS replied with a non-responsive letter. Thereafter, the Receiver and the

   Vermont Regional Center sent another letter to USCIS, the United States Attorney General and

   the Department of Homeland Security requesting a meeting to discuss the situation. Once again,

   USCIS was non-responsive and to date the Receiver has not heard from either the Attorney

   General or the Department of Homeland Security.

            Based on USCIS' unresponsiveness, the Receiver is now attempting to resolve the issues

   in another way. More specifically, throughout the summer, the Receiver worked on encouraging

   Congress to re-write existing EB-5 laws to provide relief to EB-5 investors that are victims of

   fraud.     In early September, Congressman Goodlatte, the Chair of the House Judiciary

   Committee, proposed new EB-5 legislation that contained relief for victims of fraud such as the

   investors in this case. Although the legislation was not passed prior to Congress going on recess

   (nor was it expected to), the Receiver is hopeful that Congress will revisit the issue after the new

   year and the Receiver is optimistic that new legislation which contains relief for victims of EB-5

   fraud may pass next year. The Receiver intends to do everything possible to help the investors

   receive and maintain their I-829 approval, including instituting litigation, if necessary.

                   2.      Supplying Economic Data to Investors to Satisfy Their Individual
                           Immigration Petitions

            The Receivership Entities continue to regularly assist investors in fulfilling their

   reporting requirements to USCIS in order to obtain I-526 and I-829 approvals. To that end, the

   Receivership Entities continue to employ administrative personnel, accountants and an

   economist to supply investors with the information necessary for them to meet their USCIS

   reporting requirements. Moreover, the Receiver has hired H. Ronald Klasko, a highly regarded

   EB-5 attorney, to assist the Receiver in preparing the necessary papers in order for investors to




   {39955545;1}                                      -8-
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Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 13 of 42




   properly respond to USCIS's request for information and evidence supporting their various I-526

   and I-829 petitions.

                           a.       AnC Biomedical Project

            The Receiver's immigration counsel has worked with the Receiver's accountants to

   identify and document expenditures that are appropriate inputs under EB-5 law for job creation

   projections. The attorneys are also working with the economists to maximize job creation

   projections using various recognized economic methodologies. The Receiver is hopeful that

   potential new legislation may enable subsequent investors to complete the immigration process.

   In the absence of legislation, the Receiver will be preparing a condition removal template

   presenting legal arguments advocating why subsequent investors’ conditions on residence should

   be removed even in the absence of sufficient jobs.

                           b.       Stateside Project

            Since the inception of the receivership, 8 Stateside investors received Requests for

   Evidence ("RFE") on their pending I-829 petitions. The RFEs requested extensive evidence,

   most of which was not available. The Receiver's attorneys have been working with the

   Receiver’s office and the Jay Peak accountant, as well as the forensic accountants, to gather the

   necessary documentation requested by USCIS.

            Because the documentation was not available by the due date of the RFEs, a request was

   made to USCIS to rescind and reissue the RFEs with a new due date. USCIS has thus far refused

   to do so. In the meantime, it is expected that all of the necessary documents will be made

   available within the next few weeks, which will enable the Receiver's attorneys to complete a

   template RFE response. It is strongly suggested that the investors' attorneys who received RFEs




   {39955545;1}                                      -9-
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Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 14 of 42




   use the receivership estate's template to file a late response. If, in the interim, USCIS issues a

   Notice of Intent to Deny (“NOID”), the template will be available for a response to the NOID.

              The Receiver's attorneys are also working with the economist to prepare 4 different

   economic reports, which hopefully will enable Stateside to maximize job creation projection

   with the goal of proving sufficient jobs to cover all investors’ condition removals. Two of the

   reports will use the IMPLAN model, and two will use the RIMS II model. Separate reports will

   be based on expenditures that have occurred to date and expenditures that are anticipated to

   occur in 2017 as additional funds may become available to complete the project. The Receiver's

   attorneys have been keeping in contact with the investors’ attorneys regarding the status of our

   efforts.

                            c.      Lodge and Townhouse Project

              One investor has received a Request for Evidence. The Receiver's attorneys have been

   working with the Jay Peak accountant, and the forensic accountants, and were able to obtain all

   of the necessary information to prepare a template response to the RFE, which the investor’s

   attorney filed on a timely basis.        The Receiver's attorneys will also be working with the

   economist to prepare an updated economic report that will likely be necessary once USCIS

   adjudicates pending I-829 petitions.

                            d.      Burke Hotel f/k/a QBurke Hotel Project

              The Burke Hotel is open and operating.          The Receiver's attorneys, along with the

   accountant and economist, are starting to assemble the information necessary for the QBurke

   investors to file their I-829 petitions and respond to any RFEs issued by USCIS.




   {39955545;1}                                      - 10 -
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Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 15 of 42




            D.     Litigation and Third Party Claims

                   1.      Raymond James & Associates, Inc. and Raymond James Financial,
                           Inc.

            It became apparent to the Receiver that Raymond James & Associates, Inc. and/or

   Raymond James Financial, Inc. (collectively, “Raymond James”) were involved in the scheme

   perpetrated by Quiros. Indeed, an examination of documents produced by Raymond James in

   response to the Receiver’s subpoena revealed extensive involvement by Raymond James in the

   Ponzi scheme from mid-2008 until mid-2014. Quiros’ former son-in-law, Joel Burstein

   (“Burstein”), was a branch manager at Raymond James, and was the employee responsible for

   servicing Quiros’ financial needs. Burstein and Raymond James maintain that they were merely

   a financial advisor – executing transactions directed by Quiros – and that they took no

   meaningful part in Quiros’ business endeavors, but the documents reveal that both Burstein and

   Raymond James were on notice of the nature of the EB-5 program and investor funds derived

   therefrom, the limited partnership structure underlying the EB-5 investments, and Quiros’

   obligation to manage the investor funds.

            Raymond James’ participation in Quiros’ scheme can be classified into three categories:

   (i) facilitating Quiros’ personal acquisition of Jay Peak, Inc. using EB-5 investor funds; (ii)

   collateralizing Receivership Entity funds for margin loans provided to third-party accounts

   exclusively controlled by Quiros; and (iii) facilitating without hesitation Quiros’ complex web of

   transfers that served to disguise the nature, amount and disposition of Receivership Entity funds

   mismanaged and misused by Quiros.

            Raymond James was involved with Quiros’ scheme since its inception, when Quiros

   executed the purchase of Jay Peak, Inc. from MSSI. Pursuant to Quiros’ request, and as part of

   the purchase of the resort, MSSI transferred the EB-5 investor funds it had collected to Quiros-



   {39955545;1}                                      - 11 -
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Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 16 of 42




   controlled accounts held at Raymond James, specifically advising Quiros, Raymond James, and

   Burstein, in writing, that the funds could not be used to purchase or finance the acquisition of Jay

   Peak, Inc. Despite the cautions from MSSI, Quiros directed Raymond James to use the funds for

   the acquisition of Jay Peak, and Raymond James blindly followed Quiros’ directions.

            Thereafter, Raymond James, at Quiros’ request, continued and extended the cross-

   collateralization of funds that should have been held in escrow for the Receivership Entities for

   margin loans issued under the exclusive control of Quiros. During that same time, Raymond

   James directed a frenzy of intricate and confusing transfers authorized by Quiros from and

   among accounts held for the Receivership Entities. Many of the transactions executed resulted in

   misuse and misappropriation of such funds by Quiros. In mid-2014, Raymond James finally

   terminated relations with Quiros, but only after receiving scrutiny from the SEC and FINRA.

                           a.       Goldberg v. Raymond James Financial, Inc., et al.

            Given Burstein and Raymond James’ participation in and facilitation of Quiros’ scheme

   to defraud the limited partnerships, the Receiver commenced an action against Raymond James

   and Burstein in the Southern District of Florida, Case No. 1:16-cv-21831-JAL (the “Raymond

   James Action”). In the Raymond James Action, the Receiver seeks relief against Raymond

   James, Burstein, and Quiros for (i) aiding and abetting breach of fiduciary duty; (ii) conspiracy

   to breach fiduciary duty; (iii) fraudulent transfers under Sections 726.105(1) (a), (b), and

   726.106(1) of the Florida Statutes; (iv) violation of the Racketeer Influenced and Corrupt

   Organizations Act; and (v) conspiracy in violation the Racketeer Influenced and Corrupt

   Organizations Act. The action is currently pending before the Honorable Judge Lenard. The

   defendants in the Raymond James Action each filed motions to dismiss, which have been fully




   {39955545;1}                                      - 12 -
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Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 17 of 42




   briefed by all parties. No hearing has been held and no ruling has yet been issued on those

   motions.

            Counsel for the parties have held a conference to discuss a plan for exchanging

   discoverable information, because formal discovery has now begun. Counsel for the parties to

   this action have been coordinating their discovery efforts with counsel in the other matters

   discussed below, so as to minimize duplication of effort and streamline the discovery process

   and, of course, to minimize the expense on the receivership. To date, there have been several

   class actions and multiple arbitrations filed by investors against Raymond James. The Receiver's

   counsel has, therefore, been attending discovery hearings and case management conferences in

   the other cases so that orders can be issued confirming the coordination of efforts among the

   various cases. Thus far, Magistrate Judge O’Sullivan has issued one such order, allowing for

   depositions to be used among the various cases, which will help to minimize the expense to, and

   burden on, the receivership estate.

                           b.       State of Vermont v. Raymond James Financial, Inc.

            Shortly after the commencement of the receivership, the Securities Division of the

   Vermont Department of Financial Regulation started investigating Raymond James' role,

   including the use of Raymond James accounts, the failure by Raymond James to follow written

   supervisory procedures, and the failure of Raymond James to maintain reasonable supervisory

   procedures regarding the cross collateralization of margin accounts in connection with its

   relationship with the Receivership Entities. Raymond James cooperated with the State of

   Vermont in its investigation by responding to inquiries and providing documentary evidence and

   other materials. The State of Vermont alleged that Raymond James failed to obtain adequate




   {39955545;1}                                      - 13 -
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Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 18 of 42




   documentation establishing Quiros' authority to act on behalf of the limited partnerships and was

   otherwise negligent in there oversight of the Receivership Entities' accounts at Raymond James.

            As a result of the investigation, the State of Vermont and Raymond James entered into a

   settlement agreement whereby Raymond James agreed to cease-and-desist from violating

   Vermont's securities laws and to comply with all of their provisions in the future. Moreover,

   Raymond James agreed to pay $1.45 million to Vermont as an administrative penalty and to

   reimburse it for its costs incurred in conducting its investigation. In connection with the

   settlement, Raymond James also agreed to pay the Receiver $4.5 million (“RJ Funds”) to be held

   for the purpose of reimbursing claims to EB-5 investors in this case. The Receiver currently

   holds the RJ Funds in trust pending future order of the Court directing how these funds should be

   distributed.

                           c.       Temporary Loan from Raymond James & Associates, Inc.

            Given the Receivership Entities’ dire monetary situation, Raymond James and the

   Receiver reached an interim agreement to help the Jay Peak resort remain operational and to

   maximize its value to investors and creditors. Pursuant to the agreement, the Receiver is

   permitted to use up to $1.5 million of the RJ Funds to pay expenses associated with the

   Receivership Estate’s operations (the “Borrowed Amount”). The Borrowed Amount may only be

   used for payroll expenses incurred in the ordinary course for day-to-day operations. In other

   words, the Receiver cannot use the Borrowed Amount for any other purpose associated with the

   administration of the Receivership Estate including, but not limited to any professionals’ fees.

            The Receiver is required to repay the Borrowed Amount by April 1, 2017 with the first

   available funds generated in the Receivership Estate (but not with the proceeds of any line of

   credit). If the Receiver is unable to repay the Borrowed Amount, it will be afforded priority over




   {39955545;1}                                      - 14 -
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Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 19 of 42




   all claims of investors and pre-receivership trade creditors and will be superior to all

   administrative claims. The Borrowed Amount will not, however, be superior to the claims of

   any secured creditors.

            On August 8, 2016, the Receiver, through conflicts counsel, filed an Unopposed Motion

   to Approve Temporary and Partial Use of Funds from Settlement Between Raymond James &

   Associates, Inc. and the State of Vermont for Operation of Receivership Estate [ECF No. 197].

   The Court granted the motion on August 11, 2016 [ECF No. 198]. On October 4, 2016, the

   Receiver indicated that he would be wiring $745,675.01 from the Borrowed Amount on October

   5, 2016. The Receiver intends to immediately repay these funds from the proceeds of the

   Citibank Settlement (as defined below).

                    2.       Citibank, N.A.

            Beginning in 2015, Quiros opened a number of accounts at Citibank, N.A. (“Citibank”).

   Quiros also personally obtained a $15 million line of credit from Citibank (the “Line of Credit”),

   which was collateralized with $17 million posted, in cash, by Q Resorts and Jay Construction

   Management.4 As of the commencement of this action by the SEC, Quiros had drawn down

   approximately $14.5 million on the Line of Credit.

            After learning of the “excess collateral” that Citibank was holding in accounts titled in

   the name of the Receivership Entities (i.e., Q Burke and JCM), the Receiver immediately

   negotiated an agreement with Citibank pursuant to which Citibank released $1.8 million to the

   Receiver’s bank accounts. Citibank was very cooperative and agreed to voluntarily release the

   $1.8 million. This agreement was approved by the Court through an Order Authorizing Release




   4
    Citibank is also holding funds of Receivership Defendants in accounts frozen pursuant to the Temporary
   Restraining Order issued by this Court.



   {39955545;1}                                         - 15 -
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Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 20 of 42




   and Disbursement of Funds in Citibank Pledged Account to Receiver, Without Prejudice. See

   ECF No. 156.

            The Receiver and Citibank negotiated resolution of the remainder of the funds in the

   collateral accounts, and reached a final agreement (the “Citibank Settlement”) on August 25,

   2016. Pursuant to the Citibank Settlement, Citibank is to pay the Receiver $13,300,000.00 in

   exchange for settlement and compromise of all claims relating to this action and the Receivership

   Entities’ claims against Citibank. Of this sum, Citibank already paid the Receiver $1.8 million

   referenced above and an additional $700,000 that was paid on or about August 25, 2016. The

   balance of $10.8 million was received on November 21, 2016.                  The $13,300,000.00 total

   payment represents a return of approximately 78% return of the funds held by Citibank, which is

   considered an excellent settlement.

            On August 30, 2016, the Receiver filed his Motion for (I) Approval of Settlement

   Between Receiver and Citibank, N.A.; (II) Entry of a Bar Order; (III) Modification of Freeze

   Order; and (IV) Approval of Form, Content and Manner of Notice of Settlement and Bar Order;

   Incorporated Memorandum of Law [ECF 205]. On September 2, 2016, the Court entered the

   Order (I) Preliminarily Approving the Settlement Between Receiver and Citibank, N.A.; (II)

   Approving Form and Content of Notice, and Manner and Method of Service and Publication;

   (III) Setting Deadline to Object to Approval of Settlement and Entry of Bar Order; and (IV)

   Scheduling a Hearing (ECF 207].           On October 18, 2016, the Court entered the Order (I)

   Approving Settlement Between Receiver and Citibank, N.A.; (II) Barring, Restraining, and

   Enjoining Claims Against Citibank, N.A.; and (III) Modifying Asset Freeze Accordingly. [ECF

   231]. With entry of the bar order in favor of Citibank, all persons and entities (except for the

   United States of America, its agencies and departments and any state or local government) are




   {39955545;1}                                      - 16 -
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Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 21 of 42




   permanently barred and enjoined from instituting or continuing claims against Citibank in

   connection with its involvement in facts giving rise to this action.

            Subject to the Court's authorization, the Receiver anticipates that the proceeds of the

   Citibank Settlement will be used to: (i) subsidize the Jay Peak Resort and Burke Hotel operations

   (ie… trade payables, property taxes, payroll, etc…); (ii) reduce the amount owed to contractors

   for work done in connection with the Burke Hotel, Stateside and AnC Biomedical projects; (iii)

   satisfy the Receiver's obligations to the professionals who have assisted him since the

   commencement of the receivership; (iv) restore the $750,000 borrowed from the Raymond

   James escrow account; and (v) retain a contingency fund to allow the Receiver to meet

   unexpected obligations. With this capital infusion, the Receiver is confident that the Jay Peak

   Resort and Burke Hotel can remain operational until they are eventually sold for the investors'

   benefit.       Finally, in accordance with the Court's order approving the Citibank Settlement, the

   Receiver shall file a report with the Court prior to any distribution to investors setting forth the

   uses of the Citibank Settlement proceeds so that the Court can determine an equitable "true up"

   among the various groups of investors.

            E.        Water System

            For several decades, Jay Peak Resort has provided and maintained a water system for a

   neighboring village, Jay Peak Subdivision II, also known as Wilderness Village. Those services

   were provided without any apparent obligation on the part of Jay Peak Resort and without any

   compensation from any residents or local landowners. In April 2016, the Vermont Department of

   Environmental Conservation, Drinking Water and Groundwater Protection Division, sent a letter

   to Jay Peak regarding the Jay Peak Subdivision II water system, stating “the Jay Peak

   Subdivision II water system exceeded the newly-established Health Advisory of 0.3 mg/l for




   {39955545;1}                                      - 17 -
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Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 22 of 42




   manganese.” Upon notification of the April 2016 letter, the Receiver immediately notified

   residents and homeowners in Jay Peak Subdivision II.

            Research did not reveal any contractual, regulatory, or statutory requirement for Jay

   Peak, Inc. or any of the Receivership Entities to maintain on a going-forward basis a water

   system to any surrounding communities. According to the Declaration of Covenants, Conditions

   and Restrictions Applicable to Jay Peak Division II, there is an obligation to “install” a water

   system, but there is not any obligation to maintain such a system going forward. The State of

   Vermont has communicated to the Receiver its position that such an obligation does exist,

   though the Receiver and his professionals respectfully disagree.

            The Receiver has investigated alternatives, communicated extensively with state officials,

   Jay Peak resort staff and employees, as well as residents and homeowners and determined the

   excessive manganese could be mitigated by installing an ion exchange treatment system. On

   November 10, 2016, the State of Vermont sent Jay Peak a letter stating that it agrees that an ion

   exchange treatment system is an acceptable alternative to treat the excessive manganese. The

   Receiver will take the necessary steps to obtain the necessary permits to complete this

   modification which is expected to cost approximately $150,000.00. Jay Peak is not in a position

   to bear those costs or future costs of maintenance (nor in the Receiver's opinion it responsible.)

   The Receiver and his professionals are actively working with local officials in order to develop a

   plan to rectify the situation and to develop a plan for establishment of a local utility that will

   address the manganese levels and maintain the water supply going forward. The permit in place

   is non-transferrable and part of the plan will be dealing with any government requirements for a

   new permit for the new utility.




   {39955545;1}                                      - 18 -
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Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 23 of 42




            F.     Newport

            Another asset within the receivership is an entire block of real property in downtown

   Newport, Vermont. This property consists of a torn down building and the property is basically

   an excavation site widely referred to as the “hole in the ground.” Prior to the receivership, this

   property was purchased and demolished at an approximate cost of $2.8 million. It was intended

   that this property would be redeveloped as a mixed use retail and residential complex using

   additional EB-5 funds raised from future investors. The Receiver has met several times with the

   City of Newport and other potentially interested purchasers concerning the sale of this property.

   Any future sale will be subject to the Court's approval.

            G.     Airport

            Jay Peak previously entered into contractual arrangements with the State of Vermont and

   third parties to effectively act as a fixed based operator (FBO) for a local airport approximately

   35 minutes from Jay Peak. On this property is a hangar built to house several experimental

   aircraft purchased by Quiros and his son. Jay Peak incurred hundreds of thousands of dollars to

   expand the runway and deal with water runoff. This contract was a money losing proposition for

   the receivership, and accordingly, the Receiver terminated the contract in July. The Receiver is

   also in discussions with third parties about possibly purchasing the hangar.

            H.     Jay Peak’s Management of Homeowner Associations

            Jay Peak currently acts as manager for six homeowner associations encompassing

   hundreds of residential units. Over half of these units participate in the rental management

   program by Jay Peak whereby Jay Peak will rent out the individual homeowner’s unit to third

   parties. Leisure performed a detailed review of the management of homeowner associations and

   made significant changes to procedures that immediately enhanced cash flow and streamlined




   {39955545;1}                                      - 19 -
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Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 24 of 42




   operations for both the resort and respective homeowner associations. Additionally, at the

   Receiver’s direction, Leisure attended the annual homeowners’ association meetings and

   witnessed an extremely hostile attitude towards the resort. The Receiver also attended the

   general meeting of the associations and answered questions. Leisure then met individually with

   various board of directors from the associations and proposed a complete revamp of management

   operations for the associations. During Leisure’s analysis of current practices, it also discovered

   that the resort was not charging for all services provided to the associations. Additionally, some

   services provided to the associations were not cost effective for the resort nor was the resort the

   best source to provide such services. Accordingly, Leisure had the resort solicit third party bids

   to provide certain services to the associations which will increase satisfaction by the

   homeowners while allowing resort personnel to focus more on core business.

            I.     Water Park

            The water park at Jay Peak – known as the Pump House – needs repairs to the duct sock

   system, specifically, the hanging system that suspends the large fabric air ducts from the ceiling

   of the water park. This system is the water park's main ventilation system. Jay Peak has

   engaged Hardy Structural Engineering to design a new hanging system and VHV Company, Inc.

   to remove the old hanging system and install the new system. It is anticipated that the

   installation will be conducted in two phases, with the first phase in November 2016 and the

   second phase in the Spring of 2017. Scheduling of this work will be done in a way designed to

   minimize the interruption of business. The cost of these repairs is estimated to be $350,000. The

   Receiver believes that he may have claims against the architects, engineers and contractors who

   originally designed and built the water park duct sock system, and accordingly, the Receiver has

   put these persons on notice of these claims which the Receiver intends to pursue in due time.




   {39955545;1}                                      - 20 -
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Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 25 of 42




   III.     FINANCIAL AFFAIRS5

            A.       Bank Accounts

            The Receivership Entities’ financial accounts were frozen pursuant to the Receivership

   Order. The Receivership Order also provides the Receiver with control and signatory authority

   for all financial accounts. See Receivership Order, ¶ 7. The Receiver has taken control of the

   existing financial accounts and opened new accounts. Due to the lack of liquidity during the off

   season, the Receiver has been forced to infuse cash into the Jay Peak to subsidize its operations.

   Attached to this Report as Exhibit "A" is a Standard Accounting Report ("SAR") detailing the

   Receivership Entities business operations and the sums the Receiver has provided to the Jay Peak

   Resort and the Burke Hotel to subsidize their operations.

            B.       Jay Peak

            Due to Quiros' wrongful diversion of funds, the timing of this receivership could not have

   been worse from a cash flow perspective. More specifically, this receivership commenced on

   April 13, 2016—right at the end of ski season when the resort makes most of its money. From

   May through December, the “off season,” the resort loses money. Cash flow projections indicate

   that the Jay Peak resort will lose approximately $6.5 million this off season. Typically, a prudent

   operator will build up cash during season to be able to get through the off season. However, such

   was not the case with the Jay Peak and the Receivership Entities accounts did not contain

   sufficient cash upon the commencement of the receivership to fund this short fall because Quiros

   wrongfully diverted millions of dollars. This cash flow shortfall was further compounded by the



   5
      Due to the fact that this receivership involves operating entities, the confidentiality of the Receivership Entities'
   financial data is important. Accordingly, the Receiver has not attached detailed financial statements to this report,
   but has instead provided a general summary. Should the Court want to review such detailed financial data, the
   Receiver shall provide the information to the Court in-camera.




   {39955545;1}                                            - 21 -
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Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 26 of 42




   cost of repairing and maintaining the Tram. Although Quiros was aware of the necessary Tram

   repairs, he failed to set aside money to pay for them.

            In addition to the cash short fall caused by operations and the Tram repair, at the

   commencement of the receivership the Jay Peak and the Burke Resort owed trade vendors $5.1

   million for past due bills. The Receiver has been working with these vendors and has paid each

   one timely for all goods or services provided subsequent to the commencement of the

   receivership. The Receiver is planning on starting to pay past due amounts owed to vendors in

   season when cash flow improves.

            C.     Q Burke

            The Q Burke Hotel, now known simply as the “Burke” Hotel, presents a whole other set

   of challenges caused by Quiros' fraud and gross mismanagement. More specifically, Quiros

   formed the Q Burke L.P. in or around June, 2013 to raise $98 million from 196 investors. The

   goal of the partnership was to build (i) a hotel consisting of 112 guest suites, conference rooms

   and meeting areas; (ii) an indoor and outdoor tennis complex; (iii) an indoor aquatic center

   consisting of a water park; and (iv) enhance mountain biking facilities. As of the commencement

   of the receivership, the Q Burke partnership raised $60.5 million from 121 investors. Only the

   hotel and conference room facilities have been built at an approximate cost of $66 million.

             After it became evident that Quiros was wrongfully diverting money from the

   partnerships, in or around the spring of 2015, the State of Vermont Department of Financial

   Regulation instituted a set of controls designed to prevent Quiros from transferring money from

   one partnership to pay the expenses of another partnership. It is believed that the institution of

   these controls prevented Quiros from illegally diverting money from AnC Bio and other

   partnerships into the Q Burke partnership. Thus, Quiros was no longer able to steal the funds




   {39955545;1}                                      - 22 -
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Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 27 of 42




   necessary to pay all of the contractors who built the Q Burke Hotel. Currently, there appears to

   be approximately $3.6 million owed to contractors who built the Q Burke. As described more

   fully herein, the Receiver has permitted these contractors to place liens on the Q Burke hotel to

   secure the sums owed to them. The Receiver is hopeful that he will be able to start paying these

   contractors some money from the Citibank settlement proceeds and the balance from the

   proceeds of the sale of the Q Burke.

            The Q Burke opened in early September. The Q Burke has been sold out on several

   weekends, although weekday occupancy is low as anticipated this time of year. However,

   overall, the Q Burke is operating ahead of budget and the Receiver is optimistic that it will

   continue to operate ahead of budget throughout the ski season if favorable ski conditions exist.

   The Receiver has also been working closely with the Burke Mountain Academy ("BMA") in an

   effort to insure that the Burke Mountain can offer the best possible skiing product. To that end,

   the Receiver and BMA hope to shortly announce some significant changes to Burke Mountain

   which will positively impact the Burke Hotel.

            D.     Operating Expenses

            Significant changes were made within the properties’ accounting and cash management

   departments to enhance controls and provide better cash forecasting. Additionally, Leisure

   management personnel now approve all purchase orders in excess of $5,000 and actively

   participate in meetings and budgeting for all departments. Leisure contacted hundreds of vendors

   and continues to work with these vendors each week on past due accounts payable. Due to the

   new relationships and trust established, almost all of these vendors have continued to provide

   goods and services without payment of these past due amounts.




   {39955545;1}                                      - 23 -
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Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 28 of 42




            Due to the fact that the various Jay Peak properties are essentially operated as a single

   resort and that the properties are in a dire cash position, the properties have utilized cash from

   whatever sources available amongst the respective entities including the other Receivership

   Entities. Intercompany payables and receivables have been recorded on the respective

   companies’ books and records for such cash transfers. Personnel and insurance related costs are

   given the highest priority of payment. All transfers among the various entities are being tracked

   and will be “trued up” upon the sale of the properties.

                   1.      Resort Personnel for Jay Peak Resort and Burke Hotel

            Off-season bi-weekly payroll costs were in excess of $700,000 which has now been

   reduced to approximately $500,000. Several positions have been eliminated resulting in

   hundreds of thousands of dollars in savings but will not have a material impact on operations.

   Additionally, the real estate department at Jay Peak was eliminated for additional cost savings in

   excess of $100,000. Minimum levels of employment must be maintained during the off-season to

   retain key employees needed during in-season and also for sales and marketing and repair and

   maintenance of the facilities. The majority of repairs and maintenance plus capital improvements

   occur during off-season. Employment levels for the resorts are approximately as follows:

                                                     Jay Peak       Burke

                                   In-season           1,200         160

                                   Off-season           500           40

            A new General Manager was hired for Jay Peak. Leisure Hotels & Resorts then brought

   in its team of certified public accountants to assess systems and internal controls at both resorts.

   Material weaknesses were noted primarily in the payroll department at Jay Peak and several

   areas at Burke. New processes and reporting structures have been implemented to prevent loss of




   {39955545;1}                                      - 24 -
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Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 29 of 42




   assets or material disruption of operations. Overall, Jay Peak has competent personnel and good

   controls. Burke’s level of competency and controls were severely lacking with the exception of a

   few individuals. Almost all senior management at the Burke were terminated and the Burke’s

   operations were completely reorganized and several back office functions between Jay Peak and

   Burke (accounting, human resources, information technology, and some marketing) have been

   consolidated in a manner that can be easily unwound should one resort eventually be sold

   without the other. An allocation of joint costs between the resorts has been performed and costs

   will be recorded on the respective books and records for each resort. This will result in

   significant cost savings to both resorts, enhance training, efficiency and customer service at

   Burke and provide significant positive synergies for the properties while allowing both resorts to

   retain their own identity.

            A review of both resorts’ human resource policies and compliance noted some

   weaknesses and deficiencies at Jay Peak and several material weaknesses at Burke. Jay Peak’s

   weaknesses and non-compliance have been corrected and procedures modified for regulatory

   compliance. Due to multiple employment related issues at Burke, its employees have been

   consolidated into Jay Peak’s payroll filings and benefit plans effective July 31, 2016 which

   eliminates many of these issues prospectively at Burke. All direct and indirect costs of payroll

   related to Burke will be charged back to Burke by Jay Peak. This structure can be easily

   unwound should one resort be sold without the other.

            E.     Receivership Expenses

            As more fully described herein, the Court has authorized the Receiver to enter into a

   Management Agreement with Leisure to operate, manage and maintain the facilities. Leisure is

   paid a management fee of two and one-half percent (2.5%) of all gross receipts (as that term is




   {39955545;1}                                      - 25 -
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Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 30 of 42




   defined in the Management Agreement). There is a minimum fee of forty-five thousand dollars

   ($45,000) for each month (or prorated for partial months) and a nine thousand dollar ($9,000)

   accounting fee to be paid for each month (or prorated for partial months). The Receiver has

   confirmed that the fees identified in the Management Agreement are consistent with those

   regularly charged in the industry.

            As explained in prior reports and numerous other Court filings, the Receivership Estate

   has experienced a severe liquidity shortfall. This is due to the fact that the Receivership Entities

   failed to set aside sufficient cash to fund off-season losses as well as the necessary $5 million

   tram repair. Accordingly, the Receiver has needed all available cash to fund operations and has

   been unable to pay his professionals who have graciously agreed to wait for payment.6

            For the first seven months of this receivership, the Receiver's professionals have incurred

   approximately $1.4 million in fees and expenses. The Receiver notes that this sum, although

   optically large, is relatively small based on the amount of work undertaken and the size of fee

   requests in similar receiverships.          In light of his recent receipt of the Citibank settlement

   proceeds, the Receiver and his professionals have filed fee applications simultaneous herewith.

   IV.      ADMINISTRATION OF THE RECEIVERSHIP ESTATES

            The Receiver has assembled a team of professionals with experience and skills working

   on receivership matters.

            A.       The Receiver and his Professionals

            The Receiver is a partner at the law firm of Akerman LLP (“Akerman”) and co-chair of

   Akerman’s Fraud & Recovery Practice Group. The Receiver has practiced law for twenty-six

   years and specializes in receivership and bankruptcy cases. The Receiver has been appointed

   6
     The Receiver's professionals were required to file fee applications in July. However, at the Receiver's request and
   with the Court's authorization, the professional's agreed to delay their request until the Receivership Estate had
   sufficient liquidity.



   {39955545;1}                                          - 26 -
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Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 31 of 42




   receiver in more than twenty-five state and federal receivership cases and has represented

   receivers and trustees in many other cases. The Receiver is working with a team of attorneys and

   paralegals at Akerman to administer this case. Since Akerman employs over 650 attorneys and

   consultants, the Receiver has ready access to professionals who specialize in litigation, real

   estate, immigration, corporate and other pertinent matters.

            Jeffrey Schneider, a partner at the law firm Levine Kellogg Lehman Schneider &

   Grossman LLP, provides special litigation and conflicts litigation services for the Receiver. Mr.

   Schneider is a trial lawyer whose practice focuses on complex commercial litigation and

   receiverships. Mr. Schneider has served as a receiver himself in several cases.

            Soneet Kapila, CPA, and the accounting firm Kapila Mukamal provide accounting and

   forensic work for the Receiver. Mr. Kapila’s practice is focused on restructuring, creditors’

   rights, bankruptcy, fiduciary matters and financial transactions litigation. He has conducted

   numerous forensic and fraud investigations, and has worked in conjunction with the Securities

   and Exchange Commission, the Federal Bureau of Investigation and the United States Attorney’s

   Office. Mr. Kapila is also a panel trustee for the United States Bankruptcy Court for the Southern

   District of Florida.

            Malcolm Ruby, a partner in the Toronto office of the law firm Gowling WLK, has

   assisted the Receiver secure bank accounts in Canada. Mr. Ruby has acted on behalf of the SEC

   and the Ontario Securities Commission in a number of cases raising trans-border enforcement

   issues. Mr. Ruby was successful in assisting the Receiver in obtaining the funds held in the

   Canadian Bank.

            H. Ron Klasko, the founding member of Klasko Immigration Law Partners, is widely

   regarded as one of the nation's leading EB-5 experts. He and his staff are assisting the Receiver




   {39955545;1}                                      - 27 -
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Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 32 of 42




   in all aspects of immigration law and are working directly with investors' attorneys to help them

   deal with USCIS.

            B.     Claims

            The unique nature of this receivership case may present the need for multiple

   classifications of claims. Investors may have claims for monetary damages due to a loss of all or

   part of their investment as well as other damages incurred as a result of the loss of their

   anticipated immigration status. Contractors and subcontractors, who have asserted mechanics’

   liens, seek payment for the services provided and labor performed prior to the receivership.

   General trade creditors also hold claims for their pre-receivership services. The Receiver

   foresees developing a multi-layered claims process to address and verify the various claims.

   This claims process will be developed over time and submitted to the Court for approval when

   finalized.

            C.     Recommendations

            The Receiver’s initial focus has been on securing and maintaining the assets of the

   Receivership Entities, tracing the use of the individual partnership funds and responding to

   inquiries from the investors, creditors and other interested parties. The Receiver anticipates

   taking the following actions: (i) continue to operate and maintain the facilities until the best

   course of disposition is determined with the goal of each investor obtaining the highest possible

   return on their investment and achieving their unconditional green card; (ii) develop a claims

   process; (iii) investigating and commencing litigation against third parties who may be liable for

   the perpetration of the Receivership Defendants' fraud; (iv) continue to review transfers of the

   individual partnership funds and seek to recover funds which were fraudulently transferred; (v)




   {39955545;1}                                      - 28 -
    AKERMAN LLP, LAS OLAS CENTRE II, SUITE 1600, 350 EAST LAS OLAS BOULEVARD, FORT LAUDERDALE, FL 33301-2999
Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 33 of 42




   respond to inquiries from investors, creditors, government officials and interested parties; and

   (vi) provide updates through the receivership website.

   Dated: November 22, 2016.

                                                    Respectfully submitted,

                                                      /s/ Michael I. Goldberg
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                                                    Las Olas Centre II, Suite 1600
                                                    350 East Las Olas Boulevard
                                                    Fort Lauderdale, FL 33301-2999
                                                    Telephone (954) 463-2700
                                                    Facsimile: (954) 463-2224
                                                    Court Appointed Receiver


                                      CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a true and correct copy of the foregoing was served on this

   November 22, 2016 via the Court's notice of electronic filing on all CM/ECF registered users

   entitled to notice in this case as indicated on the attached Service List.



                                                    By: /s/ Michael I. Goldberg
                                                       Michael I. Goldberg, Esq.




   {39955545;1}                                      - 29 -
    AKERMAN LLP, LAS OLAS CENTRE II, SUITE 1600, 350 EAST LAS OLAS BOULEVARD, FORT LAUDERDALE, FL 33301-2999
Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 34 of 42

                                              SERVICE LIST

   1:16-cv-21301-DPG Notice will be electronically mailed via CM/ECF to the following:

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Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 35 of 42



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   {39955545;1}
                                                     - 31 -
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Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 36 of 42




                              EXHIBIT "A"
Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 37 of 42
  Jay Peak Resort/Burke Mountain
  Cash Flow Statement
  4/ 14/1.0 through 10/31/16



                                                                 USD
  Beginning Cash Balance
      People's United Bank #     -1736                              1,157,570
      People's United Bank #     -1752                                 (2,230)
      People's United Bank #     -7175
      People's United Bank #     -0659                              1,627,901
      People's United Bank #     -0667                                  1,431
      People's United Bank #       6722                                53,503
      People's United Bank #       1175
      People's United Bank #       6726                                 18,644
      People's United Bank #       6724                                  2,761
      Desjardins # 2955                                                195,498
      Desjardins #   3548                                              919,076
                                                                     3,974,153

  Add Incoming:
      Receiver Funding
            Direct - Merrill Lynch Bank Accounts                    2,400,456
            Indirect - CitiBank Accounts                            2,949,598
       Deposits from Operations                                    17,989,753      A
                                                                   23,339,807


  Less Outgoing:
      Payroll & Benefits
            Jay Peak Resort                                         (8,083,750)
            Burke Mountain                                            (841,264)
      Vendor Payments
           Jay Peak Resort                                         (10,678,388) B
            Burke Mountain                                          (1,112,453) B
      Tax Payments
            Vermont Department of Taxes                              (1,657,603)
           Internal Revenue Service                                      (8,663)
      Merchant and Bank Fees                                           (502,873)
                                                                   (22,884,993)


  Ending Cash Balance
      People's United Bank #      -1736                              2,768,504
      People's United Bank #      -1752
      People's United Bank #      -7175                                 21,003
      People's United Bank #      -0659                              1,239,440
       People's United Bank #     -0667
       People's United Bank #       6722                               197,465
       People's United Bank #       1175                                 2,574
       People's United Bank #       6726                                30,028
       People's United Bank #       6724                                   455
       Desjardins # 2955                                               141,574
       Desjardins # 3548                                                27,924
                                                                     4,428,967



  Note A:
  Canadian transactions have been converted to US Dollars based upon the following methodology:
  The Canadian portion of total resort deposits was calculated to be 7% for the report period. This
  percentage was applied to all resort deposits at the average CON to USD currency exchange rate of
  .77 for the report period.


  Note B:
  Vendor payments pertain primarily to goods and services received after April 13, 2016.
Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 38 of 42
  Jay Peak Resort/Burke Mountain
  Beginning Cash Balance
                                                                                       * Rate: 0.79
                                                                       04/21/2016                 04/21/2016
                                                                        USD/CDN                      USD
                                                                        End of Day                End of Day
  Company          Bank         Account Name         Account Number    Cash Balance              Cash Balance
  08- JPl          People's     General Account          -1736         1,157,569.64              1,157,569.64
  08- JPI          People's     Payroll Account          -1752            (2,230A7)                 (2,230.47)
  08- JPI          People's     Money Market Acct        -7175
  20 -1P115132     People's     General Account          -0659         1,627,900.70              1,627,900.70
  20- JPFISP2      People's     Money Market Acct        -0667             1,431.11                  1,431.11
  380- BMOC        People's     General Account             6722          53,503.21                 53,503.21
  380- BMOC        People's     Savings Account             1175
  381- BMRM        People's     General Account             6726           18,644.11                18,644.11
  382- BMWC        People's     General Account             6724            2,760.62                 2,760.62
  08 - JPI         Desjardins   CDN Operating Acct     2955               247,465.63               195,497.85    *
  20 -.1PHSP2      Desjardins   CDN Operating Acct     3548             1,163,387.05               919,075.77    *
                                                                      $ 4,270,431.60           $ 3,974,152.54
Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 39 of 42
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Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 40 of 42
  Jay Peak Resort/Burke Mountain
  Detailed Report on Resort Deposits                                   Average Currency Exchange Rate:   0.77
  4/14/16 through 10/31/16


  Summary of Departmental Deposits into Major Line of Business Categories


                                              Dept Category                                                         USD
                                              Short-term Assets                                                 $    1,816,189
                                              Capital Expenditures (incl, tram upgrade)                                   1,961
                                              Short-term Liabilities                                            $    3,218,608
                                              Equity
                                              S, G & A                                                                153,815
                                              General Operations                                                      457,014
                                               Food & Beverage                                                  $    4,360,143
                                              Hotel & Lodging                                                   $    4,085,193
                                              Other Mountain Activities                                         $    2,394,740
                                              Condo Associations                                                      490,902
                                              Skiing Operations                                                       172,443
                                              Summer Operations                                                       696,150
                                              Ski School                                                               11,569
                                              Retail                                                                  122,785
                                              Ski Rental/Repair                                                          8,243
                                                                                                                $   17,989,753
Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 41 of 42
  Jay Peak Resort/Burke Mountain
  Detailed Report on Vendor Payments                                 Average Currency Exchange Rate:   0.77
  40 4 /16 through 10/31/10

  Summary of Departmental Vendor Payments into Major Line of Business Categories

                                              Dept Category                                                       USD
                                              Short-term Assets                                               $   1669,608
                                              Capital Expenditures (incl. tram upgrade)                       $   2,621,237
                                              Short-term Liabilities                                          $     452,387
                                              Equity                                                                  1,307
                                              S, G & A                                                        $   2,327,247
                                              General Operations                                              $   1,194,935
                                              Food & Beverage                                                 $   1,705,429
                                              Hotel & Lodging                                                       607,913
                                              Other Mountain Activities                                       $     443,388
                                              Condo Associations                                                     64,071
                                              Skiing Operations                                                     524,011
                                              Summer Operations                                                     146,725
                                              Ski School                                                              1,679
                                              Retail                                                                 30,905
                                              Ski Rental/Repair
                                                                                                              $   11,790,841
Case 1:16-cv-21301-DPG Document 240 Entered on FLSD Docket 11/22/2016 Page 42 of 42
  Jay Peak Resort/Burke Mountain
  Ending Cash Balance
                                                                                       * Rate: 0.75
                                                                      10/31/2016                 10/31/2016
                                                                       USD/CON                       USD
                                                                       End of Day                 End of Day
  Company          Bank         Account Name         Account Number   Cash Balance               Cash Balance
  08 -JP'          People's     General Account          -1736          2,768,503.54             2,768,503.54
  08 -JPI          People's     Payroll Account          -1752                                            .
  08 -JPI          People's     Money Market Acct        -7175             21,002.68                21,002,68
  20 -JPHSP2       People's     General Account          -0659          1,239,440.48             1,239,440.48
  20- JPHSP2       People's     Money Market Acct        -0667                   -                        -
  330- BMOC        People's     General Account             6722          197,464.57               197,464,57
  380- BMOC        People's     Sayings Account             1175            2,574.46                 2,574.46
  331- BMRM        People's     General Account             6726           30,028.48                30,028,48
  332- BMWC        People's     General Account             6724              454.50                   454.50
  08- JPI          Desjardins   CDN Operating Acct     2955               188,765.48               141,574,11 *
  20- JPHSP2       Desjardins   CON Operating Acct     3548                37,232.07                27,924.05 *
                                                                      $ 4,485,466.26           $ 4,428,966.87
